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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION
 S.C.G. a minor child, through his
                                )
 next friend, JAMANIC REAVES,   )
 and K.L.P., on behalf of themselves
                                )
 and all others similarly situated,
                                )
                                )
                 Plaintiffs,    )
                                )
 vs.                            ) Case No.: 1:22-CV-01324-LMM
                                )
 CANDICE BROCE, in her official )
 capacity as COMMISSIONER OF )
 THE GEORGIA DEPARTMENT )
 OF HUMAN SERVICES,             )
                                )
      Defendant.                )

           JOINT PRELIMINARY REPORT AND DISCOVERY PLAN

1.      Description of Case:
        (a)         Describe briefly the nature of this action.

        Plaintiffs’ contentions:
       Plaintiffs bring this civil rights lawsuit against the Commissioner of the
Georgia Department of Human Services (“DHS”) on behalf of themselves and a
putative class of children and young adults who are undocumented aliens in the
custody of the Georgia Division of Family and Children Services (“DFCS”). Their
claims relate to extended foster care benefits available in some circumstances after
a child reaches the age of 18. Plaintiffs contend that Defendant violated: (1) the
federal Adoption Assistance and Child Welfare Act (“AACWA”), 42 U.S.C. §
671(a)(16), when it failed to timely implement the case plans of Plaintiffs and
similarly situated undocumented children and youth in DFCS custody and pursue a
Special Immigrant Juvenile (“SIJ”) visa classification on behalf of Plaintiffs and
similarly situated undocumented children and youth; (2) O.C.G.A. §§ 15-11-201 &
203(b)(2) when it failed to timely implement the case plans of Plaintiffs and
similarly situated undocumented children and youth in DFCS custody and timely


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pursue a Special Immigrant Juvenile (“SIJ”) visa classification on behalf of Plaintiffs
and similarly situated undocumented children and youth; (3) the Due Process Clause
of the 14th Amendment when it did not provide extended foster care benefits to
Plaintiffs and similarly situated undocumented youth beyond their 18th birthdays
without notice and an opportunity to be heard; and (4) the Due Process Clause of the
Georgia Constitution when it did not provide extended foster care benefits to
Plaintiffs and similarly situated undocumented youth beyond their 18 th birthdays
without notice and an opportunity to be heard. Plaintiffs seek class certification and
declaratory and injunctive relief on behalf of themselves and similarly situated
undocumented children to correct these perceived wrongs.

        Defendants’ Contentions:
       This action relates to Plaintiffs, undocumented foster children, who cannot be
reunited with their families or repatriated to their country of origin and their
frustration in obtaining SIJS status through the United States Citizenship and
Immigration Services (“USCIS”) after the Juvenile court has made the necessary
factual determinations, as well as their frustration in obtaining “qualified alien”
status (which may take years depending on their country of origin) to enable them
to apply for extended foster care benefits.

       Defendants are moving to dismiss the Amended Complaint on multiple
grounds, including for lack of subject matter jurisdiction. Furthermore, since the
class has not been certified and since KLP’s and SCG’s claims lack standing or are
otherwise moot, the entire class should be dismissed. Defendant states that they
believe that the parties may be using the term SIJ classification differently and that
Plaintiffs have misunderstandings relating to the efforts of DFCS to assist Plaintiffs
in securing SIJ classification, the process for seeking extended foster care benefits
and the opportunities to express concerns about unavailability of such benefits.

    (b) Summarize, in the space provided below, the facts of this case. The
summary should not be argumentative nor recite evidence.

        Plaintiffs’ Contentions:

       Plaintiffs S.C.G. and K.L.P. are undocumented youth who were taken into the
custody of DFCS when they were minors. Georgia juvenile courts determined for
each Plaintiff that reunification with one or both parents was not viable due to abuse,
battery, abandonment, or neglect and that it would not be in their best interests to be

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returned to their country of nationality or last residence. Based on these rulings,
Plaintiffs were eligible to apply for the SIJ visa classification which, if granted,
would protect the Plaintiffs from removal from the United States and permit them to
adjust their status to lawful permanent resident, obtain work authorization, and
eventually apply for U.S. Citizenship. DFCS policy required the agency to pursue a
permanency plan for each Plaintiff that included seeking immigration status relief
under the SIJ visa classification.). DFCS prepared a permanency plan for each
Plaintiff that included seeking the SIJ visa classification for each Plaintiff. DFCS
policy prohibits the procurement of private attorneys to pursue the SIJ visa
classification as part of the permanency plan for undocumented children under 18
due its interpretation of the Georgia Security and Immigration Compliance Act of
2006 (2005 Ga. Senate Bill 529)(“GSICA”). GSICA only requires the verification
of immigration status for persons over the age of 18. DFCS did not pursue SIJ visa
classification for Plaintiffs as part of their case plans and Plaintiffs’ application for
SIJ visa classification was substantially delayed. Advocates for Plaintiffs procured
the assistance of pro bono attorneys to apply for SIJ visa classification on their
behalf. Each Plaintiff turned 18 without having obtained SIJ visa classification.

       DFCS did not find permanent homes for Plaintiffs prior to their turning 18.
Upon turning 18, a child in DFCS custody ages out of the foster care system at which
time the child is no longer entitled to dependency benefits. O.C.G.A. § 15-11-
214(c). Certain children in foster care who do not find a permanent home before
their 18th birthday through reunification with family, guardianship or adoption may
apply to receive extended foster care benefits through a separate joint federal and
state program. See 42 U.S.C. § 677; O.C.G.A. § 15-11-340. Plaintiff KLP was
provided extended foster care services by DFCS upon turning 18 but was ejected
from those services by DFCS around November 2021. Plaintiff KLP was not
provided notice of the reasons for the denial of extended foster care services by
DFCS nor an opportunity to request a hearing to challenge the denial. Plaintiff SCG
was not afforded an opportunity by DFCS to apply for extended foster care services
upon turning 18. Plaintiff SCG was not provided notice of the denial of extended
foster care services by DFCS nor an opportunity to request a hearing to challenge
the denial.

        Defendant’s Contentions:
       Defendant states that its primary objective is to reunify foster children with
their family when possible. The ability to do so and the length of time required to

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determine whether that is feasible varies depending on the individual situations. If
reunification proves unfeasible, DFCS must determine if undocumented foster
children can be repatriated to their native country prior to seeking the necessary
finding to support SIJ visa classification.

      Georgia law prohibits use of government funds to pay for immigration
counsel, but it considers and utilizes community resources to locate pro bono
counsel to provide immigration representation.

       Defendant created case plans for Plaintiffs which were presented to Juvenile
Court for review and approval. Plaintiffs had legal representation during foster care
and an opportunity to address any perceived deficiencies in DFCS’s action or
inaction within Juvenile Court, which made determinations as to the reasonableness
of DFCS’s plans.
       Defendant anticipates that discovery will show that each of the Plaintiffs
secured immigration counsel before their 18th birthday and that DFCS was
instrumental in obtaining the Juvenile Court Order needed to pursue the SIJ visa
classification application. SIJ visa classification can be granted only by the United
States Citizenship and Immigration Services (“USCIS”) and is outside of the control
of Defendant.
       Acquisition of SIJ visa classification, alone, will not confer “qualified alien”
status on Plaintiffs to enable them to apply for federal, state or local public benefits.
To become a “qualified alien” Plaintiffs must obtain both SIJ visa classification and
lawful permanent resident status (“LPR”). LPR can only be obtained if a visa number
is available. See 8 U.S.C. 1255(a) and (h). For applicants from certain nationalities
with a high demand for LPR, including Guatemala and El Salvador (the nationalities
of the respective Plaintiffs), a visa number may not become available for several
years to enable them to file for LPR. Again, this is out of Defendants’ control.
Plaintiffs have not obtained LPR so as to be able to apply for public benefits.

       Foster children normally “age out” of the foster care program at age 18.
During the pandemic, foster care benefits were continued without regard to age until
October 1, 2021, at which time they automatically ceased for those who had obtained
18 years of age, which explains the reason that KLP continued to receive benefits
past her 18th birthday. Plaintiffs did not apply to receive extended foster care benefits
and are not currently eligible for public benefits due to their immigration status.


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        (c)         The legal issues to be tried are as follows:

     Whether Plaintiffs’ claims are barred by the legal principles of standing,
mootness, abstention, and/or insufficient pleading.

        If the claims are not barred:

      Whether Defendant violated the Adoption Assistance and Child Welfare Act,
42 U.S.C. § 671(a)(16) by failing to implement the case plans of Plaintiffs and
similarly situated undocumented children in relation to pursuit of a Special
Immigrant Juvenile classification for Plaintiffs and the Plaintiff Class.

       Whether Defendant violated O.C.G.A. §§ 15-11-201 & 203(b)(2) by failing
to implement the case plans of Plaintiffs and similarly situated undocumented
children in relation to pursuit of a Special Immigrant Juvenile classification for
Plaintiffs and the Plaintiff Class.
       Whether Defendant violated the Due Process Clause of the 14th Amendment
when it did not provide extended foster care benefits to Plaintiffs and similarly
situated undocumented children upon turning 18 without notice and an opportunity
to be heard.

      Whether Defendant violated the Due Process Clause of the Georgia
Constitution when it did not provide extended foster care benefits to Plaintiffs and
similarly situated undocumented children upon turning 18 without notice and
opportunity to be heard.
        Whether class certification is warranted under Fed.R.Civ.P. 23.

       Defendants state that additional legal issues such as waiver, res judicata and
collateral estoppel will need to be considered in relation to the reasonableness of
DFCS’s action which were overseen by Juvenile Court.

        (d)         The cases listed below (include both style and action number) are:

                    (1)   Pending Related Cases:

                           To the extent that such claims involves class members under the
                    jurisdiction of the Georgia Juvenile Courts, there would be pending
                    related cases, but discovery would be required to obtain the identify of

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                    such persons/cases.

                    (2)    Previously Adjudicated Related Cases:
                          Plaintiffs’ and the putative class’ cases in Juvenile Court relating
                    to the actions of DFCS and reasonableness determinations made by
                    such court.
                           SCG’s case is styled, In the Interest of SCG, pending in the
                    Juvenile Court of Polk County, Case no. 115-20-835. KLP’s case is
                    styled, In the Interest of KLP, pending in the Juvenile Court of Athens-
                    Clarke County, Case No. XXX-XX-XXXX.

2.   This case is complex because it possesses one or more of the features listed
below (please check):
          X         (1)    Unusually large numbers of parties (if class certification occurs)
                    (2)    Unusually large number of claims or defenses
          X         (3)    Factual issues are exceptionally complex
          X         (4)    Greater than normal volume of evidence (if class certification
occurs)
          X         (5)    Extended discovery period is needed
          X         (6)    Problems locating or preserving evidence
          X         (7)    Pending parallel investigations or action by government
                    (8)    Multiple use of experts
                    (9)    Need for discovery outside United States boundaries
       X            (10)   Existence of highly technical issues and proof
       X            (11)   Unusually complex discovery of electronically stored
information
       If the Defendant’s motion to dismiss is denied, Plaintiffs will be moving for
class certification and will seek additional discovery regarding the proposed class.

3.      Counsel:
     The following individually named attorneys are hereby designated as lead
counsel for the parties:




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        Plaintiff:             Thomas Rawlings
                               Taylor English and Duma LLP
                               1600 Parkwood Circle
                               Suite 200
                               Atlanta, GA 30339
        Defendant:             T. Mills Fleming
                               Hunter, Maclean, Exley & Dunn, P.C.
                               P.O. Box 9848
                               200 East Saint Julian Street
                               Savannah, Georgia 31412-0048
                               (912) 236-0261 (telephone)
                               (912) 236-4936 (facsimile)
4.      Jurisdiction:

        Is there any question regarding this Court’s jurisdiction?
                    X Yes                  _____ No

      If “yes,” please attach a statement, not to exceed one page, explaining the
jurisdictional objection. When there are multiple claims, identify and discuss
separately the claim(s) on which the objection is based. Each objection should
be supported by authority.

5.      Parties to This Action:
      (a)           The following persons are necessary parties who have not been
joined:
                    None known.

        (b)         The following persons are improperly joined as parties:

                    None.

      (c) The names of the following parties are either inaccurately stated or
necessary portions of their names are omitted:
                    None.


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      (d) The parties shall have a continuing duty to inform the Court of any
contentions regarding unnamed parties necessary to this action or any
contentions regarding misjoinder of parties or errors in the statement of a
party’s name.

                    The parties agree that they will comply with this continuing duty.
6.      Amendments to the Pleadings:

      Amended and supplemental pleadings must be filed in accordance with
the time limitations and other provisions of Fed.R.Civ.P. 15. Further
instructions regarding amendments are contained in LR 15.

      (a) List separately any amendments to the pleadings that the parties
anticipate will be necessary:
                    Plaintiffs have filed an Amended Complaint.
     (b) Amendments to the pleadings submitted LATER THAN THIRTY
DAYS after the Joint Preliminary Report and Discovery Plan is filed, or should
have been filed, will not be accepted for filing, unless otherwise permitted by
law.
7.      Filing Times for Motions:

       All motions should be filed as soon as possible. The local rules set specific
filing limits for some motions. These times are restated below.
      All other motions must be filed WITHIN THIRTY DAYS after the
beginning of discovery unless the filing party has obtained prior permission
from the court to file later. Local Rule 7.1A(2).
      (a) Motions to Compel: before the close of discovery or within the
extension period allowed in some instances. Local Rule 37.1.
      (b) Summary Judgment Motions: within thirty days after the close of
discovery, unless otherwise permitted by court order. Local Rule 56.1.

      (c) Other Limited Motions: Refer to Local Rules 7.2A; 7.2B, and 7.2E,
respectively, regarding filing limitations for motions pending on removal,
emergency motions, and motions for reconsideration.
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      (d) Motions Objecting to Expert Testimony: Daubert motions with
regard to expert testimony no later than the date that the proposed pretrial
order is submitted. Refer to Local Rule 7.2F.

            A proposed consolidated pretrial order will be filed by the parties in
accordance with Local Rule 16.4.
8.      Initial Disclosures:

      The parties are required to serve initial disclosures in accordance with
Fed.R.Civ.P. 26. If any party objects that initial disclosures are not appropriate,
state the party and basis for the party’s objection. NOTE: Your initial
disclosures should include electronically stored information. Refer to
Fed.R.Civ.P. 26(a)(1)(B).
        The parties do not object to filing initial disclosures.
9.      Request for Scheduling Conference:

      Does any party request a scheduling conference with the Court? If so,
please state the issues which could be addressed and the position of each party.

       The parties do not request a scheduling conference at this time, but reserve
the right to request a scheduling conference at a later date.

10.     Discovery Period:

       The discovery period commences thirty days after the appearance of the
first defendant by answer to the complaint. As stated in LR 26.2A, responses to
initiated discovery must be completed before expiration of the assigned
discovery period.
       Cases in this Court are assigned to one of the following three discovery
tracks: (a) zero-month discovery period, (b) four months discovery period, and
(c) eight months discovery period. A chart showing the assignment of cases to a
discovery track by filing category is contained in Appendix F. The track to
which a particular case is assigned is also stamped on the complaint and service
copies of the complaint at the time of filing.
        Please state below the subjects on which discovery may be needed:

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            • Proposed Plaintiff Class;

            • Case plans of the Plaintiffs and the proposed Plaintiff Class;

            • Defendant’s policies and practices regarding undocumented children;

            • Defendant’s policies and practices regarding case plan development
              and implementation;

            • Defendant’s policies and practices regarding the provision of legal
              services to implement the case plans of children in custody;

            • Defendant’s policies and practices regarding the provision of extended
              foster care services;

            • Any defenses asserted by Defendant;

            • Retention of immigration counsel; and

            • Immigration filings and determinations.
      If the parties anticipate that additional time beyond that allowed by the
assigned discovery track will be needed to complete discovery or that discovery
should be conducted in phases or be limited to or focused upon particular
issues, please state those reasons in detail below:
      Plaintiffs anticipate seeking discovery in two phases: first, as to the
proposed class; and second, as to the Plaintiffs’ claims. Plaintiffs may seek
additional depositions or interrogatories than provided for by the Fed. R. Civ.
P.

11. Discovery         Limitation    and    Discovery    of   Electronically    Stored
Information:
     (a) What changes should be made in the limitations on discovery
imposed under the Federal Rules of Civil Procedure or Local Rules of this
Court, and what other limitations should be imposed?

      Defendants anticipate re-filing a Motion to Stay discovery pending the court’s
resolution of a Motion to Dismiss in order to avoid incurring any unnecessary cost

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or expense.

        (b)         Is any party seeking discovery of electronically stored information?
                     X    Yes               _____ No

                    If “yes,”

            (1) The parties have discussed the sources and scope of the
production of electronically stored information and have agreed to limit the
scope of production (e.g., accessibility, search terms, date limitations, or key
witnesses) as follows:
     The parties have conferred about the production of ESI and believe that this
may be limited to Defendant’s case files of the Plaintiffs and representative class
members and immigration records for each.
             (2) The parties have discussed the format for the production of
electronically stored information (e.g., Tagged Image File Format (TIFF or .TIF
files), Portable Document Format (PDF), or native), method of production (e.g.,
paper or disk), and the inclusion or exclusion and use of metadata, and have
agreed as follows:
       The parties do not anticipate that ESI will be significant in this matter. If ESI
is a subject of discovery, it should be requested with as much specificity as possible
to minimize the required expense. Unless the requesting party specifies the format,
the producing party may provide the requested information in native format, paper
form, or in static .pdf files. If the parties need any metadata or if search
methodologies become necessary, the parties agree to confer in an attempt to reach
an agreement regarding the method of culling voluminous materials. The parties
agree to cooperate in the development of a list of such terms that will be run against
potentially relevant data sets to determine whether, or to what extent, the terms return
a large number of “false hits.” If the producing party claims that the production of
ESI would be an “undue burden,” the producing party shall raise the issue with the
party seeking production as soon as possible. Neither Party shall request
reimbursement for the location or production of ESI without first providing an
estimate of those costs to the party seeking production and conferring about those
costs. If they cannot reach an agreement, they shall jointly seek guidance from the
Court.

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      In the absence of agreement on issues regarding discovery of
electronically stored information, the parties shall request a scheduling
conference in paragraph 9 hereof.

12.     Other Orders:

      What other orders do the parties think that the Court should enter under
Rule 26(c) or under Rule 16(b) and (c)?

      The parties agree that a confidentiality and protective order is necessary to
protect information about the Plaintiffs and putative class members. The parties will
separately move the Court for entry of protective order.

13.     Settlement Potential:

      (a) Lead counsel for the parties certify by their signatures below that
they conducted a Rule 26(f) conference that was held on June 15, 2022, and that
they participated in settlement discussions. Other persons who participated in
the settlement discussions are listed according to party.
For plaintiff:                   Lead counsel (signature): /s/ Thomas Rawlings

Other participants:              /s/ Joshua H. Norris
For defendant:                   Lead counsel (signature): /s/ T. Mills Fleming

Other participants:              /s/ Kirby G. Mason

      (b) All parties were promptly informed of all offers of settlement and
following discussion by all counsel, it appears that there is now:

        (X)         A possibility of settlement before discovery.
        (X)         A possibility of settlement after discovery.
        (_)         A possibility of settlement, but a conference with the judge is needed.
        (_)         No possibility of settlement.
      (c) Counsel (X) do or (_) do not intend to hold additional settlement
conferences among themselves prior to the close of discovery. The proposed
date of the next settlement conference is 30 days after filing of the proposed
Motion to Dismiss.


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          (d) The following specific problems have created a hindrance to a
    settlement of this case.
            Consideration of the factual and legal issues.

    14.     Trial by Magistrate Judge:

         Note: Trial before a Magistrate Judge will be by jury trial if a party is
    otherwise entitled to a jury trial.

          (a) The parties (__) do consent to having this case tried before a
    magistrate judge of this Court. A completed Consent to Jurisdiction by a United
    States Magistrate Judge form has been submitted to the clerk of court this
    _____ day _________________, of 20___.

         (b) The parties (X) do not consent to having this case tried before a
    magistrate judge of this Court.
            This 6th day of July, 2022.

TAYLOR ENGLISH AND DUMA LLP                      HUNTER, MACLEAN, EXLEY & DUNN P.C.

/s/ Thomas C. Rawlings                           /s/ T. Mills Fleming
Thomas C. Rawlings                               T. Mills Fleming
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Defendant’s Jurisdictional statement:

Defendant contends that the Court lacks jurisdiction in this matter because Plaintiffs
lack standing, or their claims are otherwise moot.

Plaintiffs seek injunctive relief to require defendant to take certain actions prior to
their 18th birthday. Plaintiffs have already reached their 18th birthday without such
actions occurring and it is now impossible to obtain the relief requested.

Plaintiff SCG lacks standing to assert his claims or alternatively, his claims are moot.
Although SCG was under the age of 18 at the time suit was filed, he has since reached
the age of 18. Plaintiff KLP lacks standing because she was already 18 at the time
suit was filed.
Defendant also contends that the Court should decline to exercise jurisdiction in this
matter based on the Younger abstention doctrine (Younger v. Harris, 401 U.S. 37
(1971)) on the basis that DFCS’s conduct in question is already supervised by the
Georgia Juvenile Court and Plaintiffs’ request for injunctive relief would require this
Court to usurp and/or interfere with the role of the Georgia Juvenile Court on an on-
going basis.

Defendant further contends that the court should decline to exercise jurisdiction in
this matter on the basis the Plaintiffs’ pleadings fail to satisfy the requirements of
Iqbal (Ashcroft v. Iqbal, 556 U.S. 662, 678-79 (2009), Twombly (Bell Atlantic Corp.
v. Twombly, 550 U.S. 544, 570 (2007)), and their progeny as stated in Defendants’
Motion to Dismiss.




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